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UNITED STATES DEPARTMENT OF JUSTICE
OFFICE OF THE UNITED STATES TRUSTEE
ANDREW R. VARA
ACTING UNITED STATES TRUSTEE, REGION 3
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                       UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW JERSEY

______________________________
                              :               Case No. 18-31186(SLM)
In re                         :               Chapter 7
                              :
Jesse J. Johnstone,           :               The Honorable Stacey L. Meisel
                              :
                              :               Hearing Date: February 26, 2019, at 10:00 a.m.
Debtor.                       :
______________________________:


              MOTION OF THE ACTING UNITED STATES TRUSTEE
  FOR AN EXTENSION OF TIME TO FILE A MOTION TO DISMISS CASE UNDER
     11 U.S.C. §§ 707(b)(1) AND (3), AND AN EXTENSION OF TIME TO FILE A
        COMPLAINT OBJECTING TO DISCHARGE UNDER 11 U.S.C. § 727
                    IN LIGHT OF LAPSE OF APPROPRIATIONS

        The Acting United States Trustee for Region 3 hereby moves under Fed. R. Bankr. P.

9013, and under all other applicable statutes and rules, for an extension of time to file a motion to

dismiss case under 11 U.S.C. §§ 707(b)(1) and (3), and an extension of time to file a complaint

objecting to discharge under 11 U.S.C. § 727 to March 25, 2019, in the above-captioned matter.

        1.     At the end of the day on December 21, 2018, the Congressional appropriations

funding the Department of Justice, including the United States Trustee Program, expired.

        2.      Absent an appropriation, Department of Justice attorneys and employees,

including the Acting United States Trustee and his staff, are prohibited from working, even on a
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voluntary basis, except in very limited circumstances, including “emergencies involving the

safety of human life or the protection of property.” 31 U.S.C. § 1342.

        3.      On December 28, 2018, the Honorable Kathryn C. Ferguson, Chief Judge of the

United States Bankruptcy Court, entered a General Order Incorporating by Reference Standing

Order 18-4 of the United States District Court for the District of New Jersey as Applied to

Bankruptcy Cases and Adversary Proceedings, suspending pending deadlines for a period of

thirty days from the date of the District Court’s Standing Order 18-4.

        4.      Accordingly, counsel for the Acting United States Trustee, therefore requests an

extension of time to file a motion to dismiss case under 11 U.S.C. §§ 707(b)(1) and (3), and an

extension of time to file a complaint objecting to discharge under 11 U.S.C. § 727 to March 25,

2019.

        5.      Therefore, although we greatly regret any disruption caused to the Court

and other litigants, the Acting United States Trustee hereby moves for an extension of time

to file a motion to dismiss case under 11 U.S.C. §§ 707(b)(1) and (3), and an extension of

time to file a complaint objecting to discharge under 11 U.S.C. § 727 to March 25, 2019, in

the above-captioned matter until Department of Justice attorneys are permitted to resume

their usual civil litigation functions.

                                                ANDREW R. VARA
                                                ACTING UNITED STATES TRUSTEE
                                                REGION 3


                                          By:   /s/Martha R. Hildebrandt
                                                Martha R. Hildebrandt
                                                Assistant U.S. Trustee


DATED: January 24, 2019
